      Case 1:25-cv-00400-AHA      Document 26     Filed 02/19/25   Page 1 of 17




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION, et al.,                  )
                                    )
                  Plaintiffs,       )         Civil Action No. 25-cv-400
                                    )
            v.                      )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE, et al.,                   )
                                    )
                  Defendants.       )
___________________________________ )


   PLAINTIFFS’ EMERGENCY MOTION TO ENFORCE TEMPORARY
 RESTRAINING ORDER AND TO HOLD RESTRAINED DEFENDANTS IN
                     CIVIL CONTEMPT

      Several weeks ago, without warning or stated justification, Defendants

abruptly cut off funding to thousands of foreign assistance programs on which

communities throughout the world rely for their health and safety, and ordered those

programs to stop their important work. On February 13, 2025, this Court, having

determined that Plaintiffs met their burden for emergency relief, issued a temporary

restraining order (TRO) (1) enjoining the suspension of appropriated foreign-

assistance funds to those programs, (2) enjoining the issuance of terminations,

suspensions, and stop-work orders in connection with those grants, and (3) ordering

the Defendants to “take all steps necessary to effectuate” its order. (ECF No. 17).

This Court also ordered Defendants to file a status report by February 18, 2025,

“apprising the Court of the status of their compliance with this order.”
      Case 1:25-cv-00400-AHA     Document 26     Filed 02/19/25   Page 2 of 17




      Meanwhile, Plaintiffs, along with countless other recipients of federal foreign

assistance awards, continued without funding, as they waited for Defendants to

comply with the unambiguous language of the TRO. Each day, their irreparable harm

increased, as did the suffering of millions of people across the world who depend on

the work performed with these grants. Deaths have already been directly attributed

to Defendants’ actions.1

      On February 18, nearly at midnight, Defendants filed the status report ordered

by this Court. The report makes the remarkable assertion that Defendants have

reviewed thousands of affected State Department and USAID grants, contracts, and

cooperative agreements, and concludes that—despite this Court’s unambiguous

order—terminating nearly all foreign assistance funding was legal.

      This Court should not brook such brazen defiance of the express terms of its

order. The Court should order Defendants to immediately comply, today, with the

terms of the TRO by rescinding all suspensions, stop-work orders, and terminations

issued since January 19, 2025. It should also order Defendants to immediately

reimburse, today, foreign assistance recipients for work already performed and to

promptly pay such recipients for work going forward. And the Court should issue an

order finding Defendants in civil contempt and imposing specific penalties until

Defendants comply with the Court’s order.




      1 Sarah Newey, US aid freeze claims first victims as oxygen supplies cut off,

The Telegraph (Feb. 11, 2025), https://www.telegraph.co.uk/global-health/climate-
and-people/us-aid-freeze-claims-first-victims-as-oxygen-supplies-cut/.

                                         2
      Case 1:25-cv-00400-AHA      Document 26     Filed 02/19/25   Page 3 of 17




                           FACTUAL BACKGROUND

      This Court’s February 13, 2025, order was unambiguous: It enjoined

Defendants Marco Rubio, Peter Marocco, Russell Vought, the U.S. Department of

State, the U.S. Agency for International Development, and the Office of Management

and Budget and their “from enforcing or giving effect to Sections 1, 5, 7, 8, and 9 of

Dep’t of State, Memorandum, 25 STATE 6828 (Jan. 24, 2025) and any other directives

that implement Sections 3(a) and 3(c) of Executive Order Number 14169,

“Reevaluating and Realigning United States Foreign Aid” (Jan. 20, 2025), including

by: suspending, pausing, or otherwise preventing the obligation or disbursement of

appropriated foreign-assistance funds in connection with any contracts, grants,

cooperative agreements, loans, or other federal foreign assistance award that was in

existence as of January 19, 2025; or issuing, implementing, enforcing, or otherwise

giving effect to terminations, suspensions, or stop-work orders in connection with any

contracts, grants, cooperative agreements, loans, or other federal foreign assistance

award that was in existence as of January 19, 2025.” ECF 17 at 14. At the same time,

the Court declined to “enjoin any aspect of the Government’s internal review of

government programs.” (ECF No.17 at 13).

      This Court also determined that, on the record before it at the time, “it would

be overbroad to enjoin Defendants from taking action to enforce the terms of

particular contracts, including with respect to expirations, modifications, or

terminations pursuant to contractual provisions.” Id. Focusing on that sentence,

Defendants suggest that they are in compliance with this Court’s order because they



                                          3
      Case 1:25-cv-00400-AHA      Document 26     Filed 02/19/25   Page 4 of 17




have—in the last five days—conducted an internal review of the thousands of grants,

contracts, and cooperative agreements issued by the State Department and USAID,

and determined that the en masse suspensions, stop-work orders, and terminations

were consistent with the terms of every grant, contract, and cooperative agreement.

This assertion strains credulity. It is also contradicted by accounts from within the

government, which show that Defendants’ actions have lacked and continue to lack a

“reasoned basis.” Transactive Corp. v. United States, 91 F.3d 232, 236 (D.C. Cir.

1996).

         Defendants’ Representations as to Compliance

         Defendants claim that, between February 13 and 18, they had “begun an

analysis of the thousands of contracts, grants, and cooperative agreements on which

action was taken during the almost four weeks between the issuance of the Executive

Order and the Court’s order” and determined that, for those managed by USAID, “at

least substantially all of the terminations, suspensions, and stop-work orders” were

either “allowed by the terms of those instruments or implicitly incorporated” into

those terms. ECF 22 ¶ 9. For contracts, grants, and cooperative agreements managed

by the State Department, Defendants were even more equivocal: “[A] large share” of

terminations, suspensions, and stop-work orders were allowed by or implicitly

incorporated into the agreements. Id. at ¶ 10. They went on to say that, for thousands

of State Department grants, “review is ongoing.” Id. at ¶ 11.




                                          4
      Case 1:25-cv-00400-AHA       Document 26     Filed 02/19/25   Page 5 of 17




      Meanwhile, on February 15, Defendant Trump appeared to flout his obligation

to comply with the Constitution and the law, posting on social media, “He who saves

his Country does not violate any Law.”2

      Defendants Continue to Suspend Funds and Enforce Stop-Work
      Orders in Violation of the Court’s Order

      Following issuance of the TRO, Plaintiffs AIDS Vaccine Advocacy Coalition

(AVAC) and Journalism Development Network (JDN) reached out to their partners

at USAID and the State Department to ask about implementation of the TRO. They

were stonewalled. A USAID agreement officer responded to AVAC’s inquiry: “Thank

you for your email. The agency has not provided guidance.” Third Decl. of Mitchell

Warren, Ex. A, ¶ 6. And replying to JDN, a State Department grants officer stated,

“The suspension remains in effect, and new cost should not be incurred unless you

receive notification from your Grants Officer that the suspension has been lifted. We

are awaiting further guidance from our leadership and will let you know as soon as

we receive additional information.” Third Decl. of Andrew Sullivan, Ex. B, ¶ 5.

Similarly, a contracting officer within USAID advised, “All work must remain

suspended until a formal authorization is granted in writing by USAID. At this time,

USAID has not issued any directive to rescind the Stop-Work Order. Please hold off

until you receive formal notification to continue.” Id.

      As USAID Contracting Officer Jessica Doe explains, it was not until February

17, four days after the Court’s order, that Jami Rodgers, USAID Senior Procurement


      2      @realDonaldTrump,     X     (Feb.   15,   2025,            1:32       pm),
https://x.com/realDonaldTrump/status/1890831570535055759.

                                           5
      Case 1:25-cv-00400-AHA      Document 26     Filed 02/19/25    Page 6 of 17




Executive, issued any guidance about the scope of the TRO to USAID contracting

officers. At that time, he stated that USAID leadership was “in the process of adopting

a comprehensive review process” and that “[f]urther guidance on the new payment

integrity and grants and contracts review process is forthcoming.” Decl. of Jessica

Doe, Ex. C ¶ 43. Contracting Officers within the agency sought clarification, but Mr.

Rodgers never responded. Id. at ¶¶ 44, 45.

      Declarant Jessica Doe has “not personally seen any evidence that a thorough,

case-by-case analysis” has taken place with regard to the suspension of funds or stop

work orders issued by USAID. Id. at ¶ 49.

      Defendants Continue to Issue Terminations in Violation of the Court’s
      Order

      Defendants continue to terminate foreign assistance awards without regard

for the law or for this Court’s order. Sworn declarations filed in American Foreign

Service Ass’n v. Trump, D.D.C. No. 25-cv-352, tell the story of what happened prior

to the TRO: Thomasina Doe, a member of the Acquisition and Assistance workforce

at USAID, indicated that she received a February 6, 2025, email instructing USAID

Contracting and Agreement Officers to “immediately terminate 800 awards.” The

instruction “did not come from an authorized procurement official” and offered no

rationale or authority for the terminations. Decl. of Thomasina Doe ¶ 4 (1:25-cv-352,

ECF No. 24-8). That email was rescinded, without explanation, “[w]ithin one or two

hours,” and was followed by instructions on February 10, 2025, to terminate 200 “new

and different” awards. Id. at ¶¶ 4-7. Virginia Doe, a contracting officer at USAID,

corroborates that account: “We are told to terminate and when we raise legal concerns

                                          6
      Case 1:25-cv-00400-AHA       Document 26     Filed 02/19/25   Page 7 of 17




they are dismissed and we are told to terminate anyway or risk appearing

insubordinate.” Decl. of Virginia Doe ¶ 6 (1:25-cv-352, ECF No. 24-10).

      Nothing meaningful changed after this Court’s TRO: Contracting Officer

Jessica Doe reports that seeing no “evidence that a thorough, case-by-case analysis”

has taken place with respect to terminations issued by the Agency, and that

contracting officers have “been left without guidance or direction to implement this

Court’s order.” Decl. of Jessica Doe, Ex. C, ¶¶ 49, 50.

                                LEGAL STANDARD

      There is “no question that courts have inherent power to enforce compliance

with their lawful orders through civil contempt.” Shillitani v. United States, 384 U.S.

364, 370 (1966). Civil contempt is a “remedial sanction used to obtain compliance with

a court order or to compensate for damage sustained as a result of noncompliance.”

Am. Rivers v. U.S. Army Corps of Eng’rs, 274 F. Supp. 2d 62, 65 (D.D.C. 2003) (citing

NLRB v. Blevins Popcorn, Co., 659 F.2d 1173, 1184 (D.C.Cir.1981)). Its principal

purpose is “vindication of judicial authority.” Blevins Popcorn, 659 F.2d at 1185 n. 73.

      A civil contempt proceeding is a three-stage process. First, “a court must issue

an order directing a party to take or not take certain action.” Am. Rivers., 274 F.

Supp. 2d at 65 (citing Blevins Popcorn, 659 F.2d at 1184). This Court has already

done so through its TRO. Second, “if there is disobedience of that order, the court

must issue a conditional order finding the recalcitrant party in contempt and

threatening to impose a specified penalty unless the recalcitrant party complies with

prescribed conditions set forth in a ‘purgation order’.” Id. Finally, the last step is



                                           7
      Case 1:25-cv-00400-AHA       Document 26      Filed 02/19/25    Page 8 of 17




“execution of the threatened penalty if the conditions are not fulfilled.” Id. The

moving party in a civil contempt proceeding “has the burden of proving by clear and

convincing evidence that the court’s order has been violated.” Id.

                                     ARGUMENT

      It is a “basic proposition that all orders and judgments of courts must be

complied with promptly.” Maness v. Meyers, 419 U.S. 449, 458 (1975). “Defendants

“who make private determinations of the law and refuse to obey an order”—even

government defendants—“generally risk criminal contempt even if the order is

ultimately ruled incorrect.” Id. “If the rule of law is to be upheld, it is essential that

the judiciary takes firm action to vindicate its authority and to compel compliance

with lawfully issued directives.” Am. Rivers, 274 F. Supp. 2d at 70.

      Here, Defendants are plainly in violation of the TRO. They assert, though, that

the TRO did not prohibit enforcement of the terms of contracts or grants, and that

they have now determined that the same actions subject to the TRO are, for the most

part, permitted by those terms. In reality, Defendants’ continuation of their en masse

termination or suspension of foreign assistance grants and contracts cannot be

excused as an application of “independent authorities” outside the scope of the TRO.

No legal authority permits Defendants’ actions. This Court should act as

expeditiously as possible to compel compliance.

I.    Defendants’ excuse for noncompliance lacks merit.

      Defendants’ justification for continuing to suspend funds and enforce stop-

work orders and terminations is sheer pretext. They claim that, in keeping in place



                                            8
      Case 1:25-cv-00400-AHA      Document 26     Filed 02/19/25    Page 9 of 17




all the actions covered by the TRO, they were not defying this Court’s order, but

merely implementing the results of an analysis, already underway, “of the thousands

of contracts, grants, and cooperative agreements on which action was taken during

the almost four weeks between the issuance of the Executive Order and the Court’s

order.” ECF 22 ¶ 8. Coincidentally, they claim, this review process determined that

“at least substantially all” USAID terminations, suspensions, and stop-work orders

were permitted under “the terms of those instruments.” Id. at ¶ 9. Similarly,

Defendants assert that for State Department contracts, grants, and cooperative

agreements, a “large share” of (unspecified) terminations, suspensions, and stop-work

orders were allowed by the agreements. Id. at ¶ 10. They go on to say that, for

thousands of State Department grants, “review is ongoing,” id. at ¶ 11, during which

time they will evidently continue to defy the TRO.

      First, it is preposterous to suggest that Defendants were able, between 9:46

pm on February 13 when this Court issued its TRO and 11:32 pm on February 18, to

make individualized determinations as to thousands of suspended and terminated

grants, contracts, and cooperative agreements. And sworn statements of contracting

officers reveal that no such determinations took place. See Decl. of Jessica Doe, Ex.

C, ¶ 49 (stating that declarant, a contracting officer, has not seen “any evidence that

a thorough, case-by-case analysis” has taken place with respect to terminations”).

      In reality, prior to the issuance of the TRO, Defendants suspended payment

and issued stop-work orders as to nearly all contracts, grants, and cooperating

agreements—actions that they have not rescinded since the February 13 TRO. See



                                          9
     Case 1:25-cv-00400-AHA      Document 26     Filed 02/19/25   Page 10 of 17




generally Mem. in Support of Mot. For TRO (ECF 13-1); Order, ECF 17 at 10 (stating

that the “blanket suspension of all congressionally appropriated foreign aid . . . set

off a shockwave and upended reliance interests for thousands of agreements with

businesses, nonprofits, and organizations around the country”). This blanket

suspension is still nearly entirely in place, and it is the blanket suspension that

Plaintiffs continue to challenge. Cf. Press Commc’ns LLC v. Fed. Commc’ns Comm’n,

875 F.3d 1117, 1122 (D.C. Cir. 2017) (“[A] reviewing court may only affirm an agency’s

action on the grounds the agency articulated.” (citing SEC v. Chenery Corp., 318 U.S.

80, 94–95 (1943)).     And Defendants’ claim that, in some cases, lifesaving

humanitarian work and PEPFAR work has been permitted consistent with waivers,

Decl. of Marocco, ECF 22-1 at ¶ 24, is misleading at best and, in any event, remains

unadorned by “specific facts” showing that waivers have “meaningfully mitigated” the

massive consequences to human health, safety, and well-being wreaked by

Defendants. ECF 17 at 7; see also Decl. of Jessica Doe, Ex. C, ¶¶ 25, 34, 37–42

(explaining that although contracting officers have been “authorized” to restart

certain programs, implementing partners have not been able to actually do so due to

lack of funding).

      Second, as in State of New York v. Trump, No. 25-cv-39 (D.R.I), Defendants

claim that “they are just trying to root out fraud.” See Order, State of New York v.

Trump, No. 25-cv-39 (D.R.I) (Feb. 10, 2025) (p. 3); Decl. of Marocco, ECF 22-1 at ¶ 7,

8. To begin with, the reason for Defendants’ nearly across-the-board freeze and stop-

work orders does not justify defiance of the TRO. And, to be sure, as in State of New



                                         10
     Case 1:25-cv-00400-AHA       Document 26     Filed 02/19/25   Page 11 of 17




York, “the freezes in effect now were a result of [a] broad categorical order, not a

specific finding of fraud.” Order, State of New York v. Trump, No. 25-cv-39 (D.R.I)

(Feb. 10, 2025). Even now, trying to defend their non-compliance, Defendants do not

suggest that any of the terminations, suspensions, or stop-work orders stemmed from

any specific findings of fraud.

      Third, Defendants threaten that, if this Court determines the suspensions of

6,824 State Department grants to be unlawful, then the State Department “would

consider terminating these contracts and grants on a case-by-case basis” because

“[r]estarting work now would impose additional expenses … which might leave State

with no choice but to terminate the awards even if the ongoing review by the

Secretary determines that they should be continued.” ECF 22-1 ¶ 29. This Court

should not allow Defendants to threaten their way to non-compliance. Any costs of

restarting unlawfully suspended awards will arise only because Defendants chose to

violate the law by suspending grants and contracts en masse.

      Moreover, exhibiting considerable audacity in light of the facts of this case,

Defendants’ request that the Court, if it requires them to comply with the order issued

a week ago, require Plaintiffs to post security under Federal Rule of Civil Procedure

65(c). Rule 65(c) authorizes the Court to order security that it “considers proper to

pay the costs and damages sustained by any party found to have been wrongfully

enjoined.” The Court has “broad discretion … to determine the appropriate amount

of an injunction bond, including the discretion to require no bond at all.” P.J.E.S. by

& through Escobar Francisco v. Wolf, 502 F. Supp. 3d 492, 520 (D.D.C. 2020) (cleaned



                                          11
     Case 1:25-cv-00400-AHA       Document 26     Filed 02/19/25   Page 12 of 17




up and citation omitted). And in exercising its discretion, the Court may take into

consideration Plaintiffs’ “ability to post a bond” and whether they are “seeking to

vindicate important procedures and protections.” Huisha-Huisha v. Mayorkas, 560 F.

Supp. 3d 146, 176–77 (D.D.C. 2021), aff’d in part, rev’d in part on other grounds, 27

F.4th 718 (D.C. Cir. 2022). As numerous courts have held, “security is not necessary

where requiring security would have the effect of denying the plaintiffs their right to

judicial review of administrative action.” NRDC v. Morton, 337 F. Supp. 167, 168

(D.D.C. 1971) (citing cases); see id. (rejecting request for a bond where “[t]o require

the plaintiffs in the case at bar to post security in the amount requested by the

Government to cover the alleged losses would have the effect of denying three

nonprofit environmental organizations from obtaining judicial review of the

defendant's actions”).

      Here, security is not warranted for two reasons. First, requiring Defendants to

lift their funding freeze and stop-work orders will not cause them to incur “costs and

damages” within the scope of Rule 65(c). Second, Plaintiffs are nonprofit

organizations that would not be able to post a bond to cover the amount of the federal

foreign assistance awards covered by the Court’s order, which include both their own

awards and those of other grantees. Indeed, the suspension of those awards has

caused Plaintiffs to lay off employees and cease many of their operations. In addition,

Plaintiffs are seeking to vindicate important constitutional and statutory rights, and,

as this Court has already found, they will suffer irreparable harm absent preliminary

relief. In any event, the Court’s order does not require payment. In these



                                          12
      Case 1:25-cv-00400-AHA      Document 26     Filed 02/19/25    Page 13 of 17




circumstances, requiring security would bolster Defendants’ effort to evade the TRO

and the law, and would undermine the very objective of Plaintiffs’ lawsuit.3

II.    Defendants’ actions are unlawful.

       As was clear at the time Plaintiffs filed their motion for temporary restraining

order and is even clearer now, Defendants’ wholesale termination and suspension

flouts the separation of powers carefully crafted in the Constitution and violates the

Impoundment Control Act of 1974, 2 U.S.C. §§ 683-84. Deferrals may not be made for

policy reasons, id. § 684(b), and rescissions are subject to congressional approval, id.

With respect to the grants and contracts at issue here, however, Defendants have

made clear that they have no intention of spending the most or all funds specifically

appropriated by Congress for foreign assistance awards. In fact, the State

Department has described the freeze on funding as “sav[ing] U.S. taxpayers” money

and “prevent[ing]” expenditure of more than $1 billion. Office of the Spokesperson,

Dep’t of State, Prioritizing America’s Interests One Dollar at a Time (Jan. 29, 2025),

https://www.state.gov/prioritizing-americas-national-interests-one-dollar-at-a-time/.

       Neither our Constitution nor the Impoundment Control Act allows Defendants

to refuse to spend funds lawfully appropriated for these programs. As the D.C. Circuit

has explained, the President lacks the statutory authority to engage in policy-based

deferrals that would “negate the will of Congress.” City of New Haven v. United


       3  If the Court were to find a bond appropriate at all, the amount should be
minimal. See Red Wolf Coal. v. United States Fish & Wildlife Serv., No. 2:20-CV-75-
BO, 2021 WL 230202, at *7 (E.D.N.C. Jan. 22, 2021) (ordering a $100 bond where
“plaintiffs are public interest groups who might otherwise be barred from obtaining
meaningful judicial review were the bond required more than nominal”).

                                          13
       Case 1:25-cv-00400-AHA      Document 26      Filed 02/19/25   Page 14 of 17




States, 809 F.2d 900, 901 (D.C. Cir. 1987). But Defendants seek to do exactly that

here. See, e.g., Compl. (ECF 1) at ¶¶ 17-24; Decl. of Jessica Doe, Ex. C at ¶¶ 20, 25,

26; see also https://doge.gov/savings (touting the “savings” from contract cancellations

at numerous agencies).

III.    Civil contempt is an appropriate sanction for Defendants’ defiance of
        this Court’s order.

        “This Court has the inherent power to protect its integrity and to prevent

abuses of the judicial process by holding those who violate its orders in contempt and

ordering sanctions for such violations.” Landmark Legal Found. v. E.P.A., 272 F.

Supp. 2d 70, 75 (D.D.C. 2003). “For contempt to issue, two conditions must be present:

(1) the existence of a reasonably clear and specific order … [and] (2) violation of that

order by the defendant.” Id.

        Both conditions are present here. This Court was clear that “[a]bsent

temporary injunctive relief, therefore, the scale of the enormous harm that has

already occurred will almost certainly increase. Plaintiffs have made a strong

preliminary showing of irreparable harm.” ECF 17 at p. 8. The Court was likewise

clear that, on the record before it, Plaintiffs were “likely to succeed on the merits” and

that “implementation of the blanket suspension is likely arbitrary and capricious

given the apparent failure to consider immense reliance interests, including among

businesses and other organizations across the country.” Id. at 10, 12. The Court

continued: “No aspect of the implemented policies or submissions offered by

Defendants at the hearing suggests they considered and had a rational reason for

disregarding the massive reliance interests of the countless small and large

                                           14
     Case 1:25-cv-00400-AHA       Document 26     Filed 02/19/25    Page 15 of 17




businesses that would have to shutter programs or shutter their businesses

altogether and furlough or lay off swaths of Americans in the process.” Id. at 10. And

the Court concluded that Plaintiffs had produced “credible and unrebutted evidence

of harm,” and that Defendants had not. Id. at 12–13.

      Those conclusions led the Court to issue an unambiguous order restraining

Defendants Marco Rubio, Peter Marocco, Russell Vought, the U.S. Department of

State, the U.S. Agency for International Development, and the Office of Management

and Budget and their agents “from enforcing or giving effect to Sections 1, 5, 7, 8, and

9 of Dep’t of State, Memorandum, 25 STATE 6828 (Jan. 24, 2025) and any other

directives that implement Sections 3(a) and 3(c) of Executive Order Number 14169,

‘Reevaluating and Realigning United States Foreign Aid’ (Jan. 20, 2025), including

by: suspending, pausing, or otherwise preventing the obligation or disbursement of

appropriated foreign-assistance funds in connection with any contracts, grants,

cooperative agreements, loans, or other federal foreign assistance award that was in

existence as of January 19, 2025; or issuing, implementing, enforcing, or otherwise

giving effect to terminations, suspensions, or stop-work orders in connection with any

contracts, grants, cooperative agreements, loans, or other federal foreign assistance

award that was in existence as of January 19, 2025.”

      Defendants purposely chose to violate the order. By their own admission, they

are continuing to suspend funds and to enforce virtually every termination,

suspension, and stop-work order. This Court has no discretion to “overlook a proven

violation, absent a recognized defense,” Potter v. D.C., 126 F.4th 720, 724 (D.C. Cir.



                                          15
     Case 1:25-cv-00400-AHA      Document 26     Filed 02/19/25   Page 16 of 17




2025), and no such defense exists. The Defendants subject to the TRO have acted

contemptuously to the Court and should be held in contempt. Accordingly, the Court

should issue an order directing Defendants to immediately comply with the terms of

the TRO by rescinding all suspensions, stop-work orders, and terminations in

connection with any federal foreign assistance awards in existence as of January 19,

2025; immediately company with the terms of the TRO by taking all steps necessary

to reimburse foreign assistance recipients for work already performed and to

promptly pay such recipients for work going forward; and prohibit the Defendants

subject to the TRO from issuing any new suspensions, stop-work orders, or

terminations unless the Court permits such issuance after considering particularized,

case-by-case bases for any such suspensions, stop-work orders, or terminations. It

should further order the Defendants subject to the TRO to be held in civil contempt,

and order penalties until they purge themselves of contempt of this Court.

                                  CONCLUSION

      For the reasons foregoing above and those set forth in this Court’s February 13

order, the Court should enforce the clear and unambiguous text of its temporary

restraining order and (1) order Defendants to immediately rescind all stop-work

orders and terminations issued after January 19, 2025; (2) order Defendants to

immediately take all necessary steps to disburse funds withheld pursuant to the

Executive Order and subsequent agency actions, and (3) issue an order holding

agency Defendants, Marco Rubio, and Peter Marocco in civil contempt until they




                                         16
     Case 1:25-cv-00400-AHA      Document 26     Filed 02/19/25   Page 17 of 17




comply with this Court’s orders and articulating specific penalties for continued non-

compliance.

February 19, 2025                      Respectfully submitted,

                                       /s/ Lauren E. Bateman
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                                         17
